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       James E. Cecchi                                           Steve W. Berman
       Donald A. Ecklund                                         Hannah W. Brennan
       Kevin G. Cooper                                           Mark T. Vazquez
       C ARELLA , BYRNE , C ECCHI ,                              H AGENS B ERMAN S OBOL
       B RODY & AGNELLO , P.C.                                      S HAPIRO LLP
       5 Becker Farm Road                                        1301 2nd Ave., Suite 2000
       Roseland, NJ 07068                                        Seattle, WA 98101
       (973) 994-1700                                            (206) 623-7292

                                                     Attorneys for Plaintiffs


                                        UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW JERSEY


                                                                  Civil Action No. 2:17-cv-00699 (BRM)(RLS)
   I N R E I N S U L I N P R I C I N G L I T I GAT I O N




                     PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF THEIR
                              MOTION FOR CLASS CERTIFICATION
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             Three important developments have occurred since class certification briefing closed.

   Each undercuts the defendants’ arguments and highlights the case for certification. First, the

   defendants each admitted, while slashing list prices, that they are responsible for the harm the

   consumer plaintiffs allege: their high list prices directly cause patients to pay exorbitant out-of-

   pocket costs. Second, in RealPage v. Kelly, the Third Circuit clarified that courts cannot deny class

   certification simply because ascertaining the class will require review of individual records,

   allowing for certification of classes that are more difficult to identify than the one proposed here.1

   Third, a judge in this district certified a considerably more complex class of consumer drug

   purchasers in Valsartan, and the Third Circuit denied the defendants’ 23(f) petition on that

   decision. These three developments strengthen the plaintiffs’ motion and make clear that

   certification here is not only the just result but the correct one.

             1. The defendants admit the proposed class’s core allegation: their list prices directly
                cause the high prices the plaintiffs pay.

             Throughout their briefing, the defendants blame the financial burdens of insulin pricing

   on everyone else: health plans, PBMs, and astoundingly even the patients themselves. And they

   assert that high list prices were out of their control. Yet, in March 2023, each defendant cut their

   list prices dramatically. In their press releases regarding these decisions, the defendants

   acknowledged that their cuts would have a direct and positive impact on class members in the form

   of lower out-of-pocket costs.2 These pricing announcements undercut the parade of “facts”

   defendants assert as to the cause and impact of high prices on the class.

             2. The proposed class is readily ascertainable under the Third Circuit’s current
                construction of the requirement.

             After the plaintiffs moved for class certification, the Third Circuit dealt a final blow to the




      1
          47 F.4th 202 (3d Cir. 2022).
      2
          See Exs. 1-3 (Eli Lilly, Novo Nordisk, and Sanofi March 2023 Press Releases).
                                                       1
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   defendants’ arguments on ascertainability. In Kelly, the plaintiffs alleged that RealPage—a credit

   reporting agency that offers background checks on rental applicants to potential landlords—

   disseminated inaccurate “rental reports” and then refused to disclose the sources of those

   inaccuracies to the rental applicants. The class was defined as individuals who had: (1) requested

   copies of their rental reports from Real Page and (2) received rental reports containing public

   record information.3 Identifying whether a particular individual belonged to the class proved

   difficult because RealPage stored the data needed to answer questions (1) and (2) in two separate

   databases “with no ‘unique identifier’ used across both systems.”4 This lack of unique identifier

   meant that a claims administrator would have to take the group of people who requested their

   rental report, per one database, and then “review [each potential class member’s report] and

   determine whether the file contained public record information . . . .”5 The district court held that

   “[a] review of each individual file is, of course, not administratively feasible.”6

                The Third Circuit reversed. “[A]scertainability does not mean that ‘no level of inquiry as to

   the identity of class members can ever be undertaken,’ because that would make Rule 23(b)(3)

   class certification all but impossible.”7 If review of individual plaintiff records yields a “yes-or-no”

   answer to the class membership inquiry, the class is ascertainable, no matter how large. This

   “straightforward ‘yes-or-no’ review of existing records to identify class members is administratively

   feasible even if it requires review of individual records with cross-referencing of voluminous data

   from multiple sources.”8 And this is true no matter the volume of records that must be reviewed:



      3
       Kelly, 47 F.4th at 208-09, 223.
      4
       Id. at 223.
     5
       Kelly v. RealPage, Inc., 338 F.R.D. 19, 30 (E.D. Pa. 2020).
     6
       Id.
     7
       Kelly, 47 F.4th at 224 (quoting Byrd v. Aaron’s Inc., 784 F.3d 154, 171 (3d Cir. 2015), as
   amended (Apr. 28, 2015)) (emphasis in original).
      8
          Id.

                                                          2
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   any argument to the contrary “is essentially an objection to the size of the class, which we [the

   Third Circuit] stated explicitly in Byrd is not a reason to deny class certification.”9 “To hold

   otherwise would be to categorically preclude class actions where defendants purportedly harmed

   too many people, which would ‘seriously undermine the purpose’ of a class action to ‘vindicate

   meritorious individual claims in an efficient manner.’”10

           Kelly makes clear that the proposed class here satisfies the Third Circuit’s standard. Here,

   well-maintained data from PBMs, pharmacies, insurers, and coupon administrators can be used to

   identify class members.11 Although some cross referencing of data sources may be necessary, Kelly

   sanctions such a methodology. And the size of this class does not pose a barrier.

           After Kelly, the Third Circuit issued one more decision touching on the ascertainability

   requirement. In In re Niaspan Antitrust Litigation, the appeals court held that the plaintiffs had

   waived their argument on a potentially viable ascertainability methodology. Before the district

   court, the plaintiffs claimed they could use PBM data alone to sort insurers were self-funded (i.e.,

   insurers that pay for their beneficiaries’ health care) from those that were fully-insured (those that

   do not).12 When this methodology proved faulty, the plaintiffs raised the possibility of using class

   member affidavits instead of the data.13 Because the plaintiffs failed to properly raise this

   argument before the district court, the Third Circuit held it waived.14 Nonetheless, in reaching this

   conclusion, the appeals court was careful to confirm that “an affidavit, in combination with

   records or other reliable and administratively feasible means, can meet the ascertainability




      9
        Id. (citing Byrd, 784 F.3d at 171.).
      10
         Id. at 225 (quoting Byrd, 784 F.3d at 171).
      11
         Pls. Opening Class Cert. Br. at 60-67; Ex. 4 to Pls. Opening Class Cert. Br. at Section C.
      12
         In re Niaspan Antitrust Litig., 67 F.4th 118, 134 (3d Cir. 2023).
      13
         Id. at 125-127.
      14
         Id. at 135-36.

                                                      3
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   standard.”15 The Third Circuit’s waiver holding speaks volumes: the Court had an opportunity to

   reject affidavits as a method of identifying class members and did not.

           Here, the class at issue differs significantly from that in Niaspan (health insurers versus

   consumers). And, here, the plaintiffs explained in their opening briefing and exhibits that they

   will only use an affidavit, in combination with records or other reliable and administratively

   feasible means, to ascertain class members where the PBM, pharmacy, and health insurer data

   subpoenaed cannot locate that class member.16 Finally, here, the plaintiffs will overlap multiple

   data sources—as opposed to relying on PBM data alone—to identify the class.

           3. This Court’s decision in Valsartan—a considerably more complex consumer drug-
              purchaser class—provides a roadmap to certification in this matter.

           Valsartan certified a much more complex class from the same data the plaintiffs propose

   using here. And the Third Circuit subsequently denied the defendants’ Rule 23(f) petition.17

   Valsartan provides a roadmap to the Court on all of Rule 23’s requirements. As the defendants

   emphasized in Valsartan, the Valsartan Court will have to conduct a “three-phase class trial

   involving 93 different consumer subclasses, that [will] require a single jury to decide whether

   millions of consumers, who purchased 428 distinct varieties of valsartan . . . , from dozens of

   manufacturers, wholesalers, and pharmacies under multiple warranty, fraud, consumer protection,

   and unjust enrichment theories of liability implicating the varying laws of 52 states.”18 In contrast

   to the 428 drugs at issue in Valsartan, there are only six at issue here. In contrast to the 93

   subclasses at issue in Valsartan, plaintiffs here request certification of only two nationwide classes

   (one nationwide class per defendant)—or, in the alternative, ten classes (one multi-state class and


      15
         Id. at 131 (internal alterations omitted).
      16
         Ex. 4 to Pls. Opening Class Cert. Br. at 11.
      17
         In re Valsartan Losartan & Irbesartan Prods. Liab. Litig., Nos. 23-8005, 23-8006, 23-8007, 23-
   8008, Order Denying Pets. for Permission to Appeal, Dkt. No. 60 (3d Cir. May 1, 2023).
      18
         Defs.’ Memo. of Law in Opp’n to Pls.’ Mot. for Class Cert. of Consumer Econ. Loss Claims
   at 1, 1:19-md-02875, ECF No. 2008 (D.N.J. Apr. 12, 2022).
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   four single-state classes per defendant), where the claims of four of the ten classes will be tried to

   the court, not the jury. And unlike Valsartan, the jury in this case will be presented with only three

   legal standards (for unfair and unconscionable acts). In contrast to Valsartan, the question this

   case poses is simple: did a consumer pay some portion of the defendants’ list price and did the

   defendants unfairly or unconscionably set that list price?

           While the entirety of Valsartan bears relevance here, the Court’s holdings on commonality,

   typicality, predominance, and ascertainability carry particular weight. On commonality, the Court

   explained that subdividing class members “into groupings . . . according to state law standards

   moves the needle toward a showing of commonality.”19 As to typicality, the Court relied on Boley

   the same way the plaintiffs advocate here.20 And on predominance, the Court held, “[s]ince each

   parties’ economic loss theory reduces or expands the importance of individualized fact questions

   over common ones, choosing one theory over the other drives a decision as to predominance that

   bounds too deeply into the province of the factfinder.”21 Therefore, to avoid intruding on the

   province of the jury, the Court selected “a practical approach to predominance: to confirm that

   subclasses aptly map the reality of state law variation and factual variability.”22 Finally, as to

   ascertainability, the Valsartan plaintiffs planned to link data from many of the same sources—

   PBMs, pharmacies, and insurers—as the plaintiffs propose here. The Court recognized that

   RealPage “made clear that, if the data exist to reasonably identify class members, then having to

   link disparate kinds of data to more accurately name all possible, putative members cannot be the

   reason to fail ascertainability”; “feasible, and not perfect, ascertainability is the standard.”23



      19
        In re Valsartan, Losartan, & Irbesartan Prod. Liab. Litig., No. 19-2875 (RBK/SAK), 2023 WL
   1818922, at *9 (D.N.J. Feb. 8, 2023).
     20
        Id. at *10 (citing Boley v. Universal Health Services, Inc., 36 F.4th 124 (3d Cir. 2022)).
     21
        Id. at *15.
     22
        Id.
     23
        Id. at *24.
                                                        5
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   H AG E N S B E R M A N S OB O L S H A P I RO LLP         C AR E L L A , B Y R N E , C E C C H I ,
                                                            B RO DY & A G N E L L O , P.C.
   /s/ Steve W. Berman
   Steve W. Berman                                          /s/ James E. Cecchi
   1301 2nd Avenue, Suite 2000                              James E. Cecchi
   Seattle, WA 98101                                        Donald A. Ecklund
   Telephone: (206) 623-7292                                Kevin G. Cooper
   Facsimile: (206) 623-0594                                5 Becker Farm Road
   steve@hbsslaw.com                                        Roseland, NJ 07068
                                                            Telephone: (973) 994-1700
   Thomas M. Sobol                                          Facsimile: (973) 994-1744
   Hannah W. Brennan                                        jcecchi@carellabyrne.com
   55 Cambridge Parkway, Suite 301                          decklund@carellabyrne.com
   Cambridge, MA 02142                                      kcooper@carellabyrne.com
   Telephone: (617) 482-3700
   Facsimile: (617) 482-3003
   tom@hbsslaw.com
   hannahb@hbsslaw.com

   Mark T. Vazquez
   455 N. Cityfront Plaza Dr., Suite 2410
   Chicago, IL 60611
   Telephone: (708) 628-4962
   Facsimile: (708) 628-4952
   markv@hbsslaw.com

                       Attorneys for Plaintiffs and Interim Co-Lead Counsel for the Class




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